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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


  GRADUATION SOLUTIONS LLC,
                                                      Case No. 17-cv-1342 (VLB)
                                     Plaintiff,

  v.

  ACADIMA, LLC and ALEXANDER
  LOUKAIDES,

                                     Defendants.



 DEFENDANT LOUKAIDES’ CORRECTED MOTION FOR AN EXTENSION OF TIME

       Pursuant to D. Conn. L. Civ. R. 7, defendant Loukaides respectfully moves for a

extension of the scheduled trial date in this case, from June 18, 2019 to July 8, 2019.

As set forth below, good cause for the extension exists as well as an unforeseen

insurmountable obstacle to the trial proceeding as scheduled.

       Undersigned counsel is lead trial counsel for the plaintiff in the case Marcie D.

Vadnais v. SIG Sauer, Inc., 1:18CV00540 (LMB) (EDVA). That case had been

scheduled to proceed to trial beginning April 2, 2019, well in advance of the trial date in

this case.

       On March 8, 2019, however, Judge Brinkema ordered that the trial be continued

to May 28, 2019 because of two criminal cases remaining, unexpectedly, in front of it.

(Ex. 1). The Vadnais trial is anticipated to continue through June 10, 2019 in

Alexandria, Virginia. (Ex. 2).

ORAL ARGUMENT NOT REQUESTED
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       Undersigned counsel respectfully contends that it would be very difficult to

properly prepare for and go forward with a trial in this case on June 18th, approximately

a week after the Vadnais trial concludes. This obstacle was unforeseen at the time the

Court scheduled the trial for June 18th.

       Undersigned counsel has conferred with opposing counsel regarding this

proposed extension. He represents that opposing counsel objects to the Motion.

This is defendant Loukaides’ first request for an extension of time with respect to this

deadline.

Dated: April 10, 2019
Westport, Connecticut


                                                 Respectfully submitted,

                                                 Alexander Loukaides


                                           By:   /s/ __________________________
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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 10, 2019 a copy of foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will

be sent by e-mail to all parties by operation of the Court’s electronic filing system or by

mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                                /s/ Jeffrey S. Bagnell, Esq.
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